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                           Oyster Optics, LLC.
                      10
                                                       UNITED STATES DISTRICT COURT
                      11
RUSS AUGUST & KABAT




                                                      NORTHERN DISTRICT OF CALIFORNIA
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                           OYSTER OPTICS, LLC,                          CASE NO. 4:20-cv-02354-JSW
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                                         Plaintiff,
                      15
                                  v.                                    DECLARATION OF REZA MIRZAIE IN
                      16                                                SUPPORT OF PLAINTIFF OYSTER
                      17 CIENA CORPORATION,                             OPTICS, LLC’S CLAIM
                                                                        CONSTRUCTION BRIEF
                      18                 Defendant.
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 3714-002E                                                 DECLARATION OF REZA MIRZAIE
                          1           I, Reza Mirzaie, hereby declare as follows.
                          2           1.     I am a partner at the law firm Russ, August & Kabat, counsel of record for Plaintif

                          3 Oyster Optics, LLC (“Oyster”) in the above-captioned matter. I make this declaration on the basis
                          4 of personal knowledge, and if called to testify as a witness, I would and could testify competently
                          5 hereto.
                          6           2.     Attached hereto as Exhibit A is a true and correct copy of this Court’s Claim
                          7 Construction Order dated August 10, 2020 and entered as docket entry number 127 in Oyster Optics,
                          8 LLC v. Ciena Corporation, Case No. 4:17-cv-05920.
                          9           3.     Attached hereto as Exhibit B is a true and correct copy of the Claim Construction
                         10 Memorandum Opinion and Order dated July 23, 2020 and entered as docket entry number 88 in
                         11 Oyster Optics, LLC v. Infinera Corporation, et al No. 2:19-cv-00257-JRG (E.D. Texas).
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                         12           4.     Attached hereto as Exhibit C is a true and correct copy of the Declaration of Professor
                         13 Keith Goossen.
                         14           5.     Attached hereto as Exhibit D is a true and correct copy of U.S. Patent No. 10,554,297.
                         15           6.     Attached hereto as Exhibit E is a true and correct copy of U.S. Patent No. 6,665,500.
                         16           7.     Attached hereto as Exhibit F is a true and correct copy of U.S. Patent No. 6,594,055.
                         17           8.     Attached hereto as Exhibit G is a true and correct copy of Excerpts from the Treatise,
                         18 Handbook of Optics as produced by Ciena.
                         19           9.     Attached hereto as Exhibit H is a true and correct copy of the Declaration of Richard
                         20 Gitlin, SC.D. In Support of Ciena’s Preliminary Claim Constructions that was filed Oyster Optics,
                         21 Inc. v. Ciena Corporation, Case No. 4:17-cv-05920-JSW as docket entry 100-2 on or about April 3,
                         22 2020.
                         23           I declare under penalty of perjury under the laws of the United States that the foregoing is
                         24 true and correct.
                         25           Executed on February 1, 2021, at Los Angeles, California.
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                                                                                    /s/ Reza Mirzaie
                         27                                                                 Reza Mirzaie
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                                                               DECLARATION OF REZA MIRZAIE
3714-002E
